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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF VIRGINIA


                          Alexandria Division


 ROBERT MIKAIL,


       Petitioner,
                                            l:13crl37
                                            l:14cv81


  UNITED STATES OF AMERICA,


       Respondent.



                  MEMORANDUM             OPINION


          This matter is before the Court on Petitioner Robert


Mikail's ("Petitioner") Motion to Vacate,       Set Aside,    or Correct

Sentence, pursuant to 28 U.S.C. § 2255.        [Dkt. 14 9.]    For the

following reasons,    the Court will deny Petitioner's motion.

                             I. Background

           On April 4, 2013, a federal grand jury indicted

Petitioner on charges of bank fraud and conspiracy to commit

bank fraud.     (Indictment [Dkt. 1] at 1.)     These charges stem

from Petitioner's involvement in a mortgage fraud scheme that

used straw buyers to submit falsified mortgage loan

applications.

           On July 17,   2013,   Petitioner pled guilty to the

conspiracy charge.     Petitioner simultaneously entered a plea

agreement wherein the Government agreed to drop the remaining

charges and recommend various sentencing reductions in exchange
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English's representation was therefore ineffective.             Both

parties have filed pleadings and responsive materials in

accordance with the Federal Rules of Civil Procedure and


J?oseJboro v. Garrison, 528 F.2d 309 (4th Cir. 1975) .          Accordingly

this matter is ripe for review.

                           II.   Standard of Review


             A motion to vacate,      set aside,   or correct sentence

under 28 U.S.C.      § 2255 allows a prisoner to challenge the

legality of his sentence on four grounds:           (1)   "the sentence was

imposed in violation of the Constitution or laws of the United

States";    (2)   "the court was without jurisdiction to impose such

sentence";    (3)    "the sentence was in excess of the maximum

authorized by law"; or (4) the sentence is "otherwise subject to

collateral attack."        28 U.S.C. § 2255(a).       The petitioner bears

the burden of demonstrating his grounds for relief by a

preponderance of the evidence.          See Hall v.    United States, 30 F.

Supp. 2d 883, 889 (E.D. Va. 1998).

             A § 2255 motion is, in essence, a statutory federal

habeas corpus action that collaterally attacks a sentence or

conviction through the filing of a new proceeding, as contrasted

with a direct appeal.        See In re Jones, 226 F.3d 328,       332-33

(4th Cir.    2000)    ("'[Section]    2255 was intended to afford federal

prisoners a remedy identical in scope to federal habeas

corpus[.]'"       (quoting Davis v.    United States, 417 U.S. 333,    343
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for Petitioner's full cooperation.       As part of the agreement,

Petitioner acknowledged that "no threats, promises, or

representations have been made, nor agreements reached, other

than those set forth in writing in [the] plea agreement, to

cause [him] to plead guilty."      The agreement also informed

Petitioner that any subsequent motion to reduce his sentence

would be at the Government's sole discretion.         During the

ensuing plea colloquy, Petitioner affirmed under oath that he

had received no predictions or promises as to the sentence he

should expect to receive, and that he understood he would be

bound by his plea and the terms of his plea agreement even if

his actual sentence varied from what he expected to receive.

           Petitioner appeared before the Court for sentencing on

January 10, 2014.    The Court adopted the Pre-Sentence

Investigation Report, which assessed an advisory Guidelines

range of 78 to 97 months.      After a downward departure pursuant

to U.S.S.G.   § 5K1.1,   the Court sentenced Petitioner to 52 months

incarceration.


           Petitioner did not appeal, but instead filed the

instant motion on January 24, 2014.       In his Petition, Mikail

contends that defense counsel, Gregory English ("English"),

advised that he would receive a      sentence of 23 months if he

cooperated.   Mikail asserts that had he known he would not

receive 23 months he would not have cooperated,        and that
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(1974))).   The existence of the right to pursue a collateral

attack, however, does not displace a direct appeal as the "usual

and customary method of correcting trial errors."            United States

v. Allgood, 48 F. Supp. 2d 554, 558 (E.D. Va. 1999) .

Consequently, claims regarding trial or sentencing errors that

could have been,   but were not, raised on direct appeal are

procedurally barred from review under § 2255.            See Bousley v.

United States,   523 U.S.    614,   621-22 (1998).    "Where a defendant

has procedurally defaulted a claim by failing to raise it on

direct review, the claim may be raised in habeas only if the

defendant can first demonstrate either         'cause'   and actual

'prejudice,' ... or that he is 'actually innocent.'"                  Id. at

622   (citations omitted).

            Nevertheless, an exception applies for claims of

ineffective assistance of counsel.         See United States v.

Martinez,   136 F.3d 972,    979 (4th Cir.   1998);   United States v.

King, 119 F.3d 290, 295 (4th Cir. 1997)         ("[I]t is well settled

that a claim of ineffective assistance should be raised in a 28

U.S.C.   § 2255 motion in the district court rather than on direct

appeal, unless the record conclusively shows ineffective

assistance."   (citation omitted)).        Under the standard

promulgated in Strickland v. Washington, 466 U.S. 668 (1984), a

petitioner is required to demonstrate two elements in order to

state a successful claim for ineffective assistance:            (1)
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"counsel's representation fell below an objective standard of

reasonableness"; and (2) "there is a reasonable probability

that, but for counsel's unprofessional errors, the result of the

proceeding would have been different."        Id. at 688, 694.

           To establish constitutionally deficient performance

under the first prong, a petitioner must demonstrate that his

lawyer "made errors so serious that counsel was not functioning

as the 'counsel' guaranteed ... by the Sixth Amendment."

Strickland, 466 U.S. at 687.      Such a showing must go beyond

establishing that counsel's performance was below average, since

"effective representation is not synonymous with errorless

representation."    Springer v. Collins, 586 F.2d 329, 332 (4th

Cir. 1978); see also Strickland, 466 U.S. at 687.          Given it is

all too easy to challenge an act, omission, or strategy once it

has proven unsuccessful, "every effort [must] be made to

eliminate the distorting effects of hindsight,        to reconstruct

the circumstances of counsel's challenged conduct, and to

evaluate the conduct from counsel's perspective at the time."

Strickland, 466 U.S. at 689.      In assessing performance, a court

must apply a "heavy measure of deference to counsel's

judgments."   Strickland, 466 U.S. at 691.

           The second prong requires a petitioner to

"affirmatively prove prejudice," which necessitates a showing

that "there is a reasonable probability that, but for counsel's
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unprofessional errors, the result of the proceeding would have

been different."    Strickland, 466 U.S. at 694.         "A reasonable

probability is a probability sufficient to undermine confidence

in the outcome."    Id.

                             III. Analysis

            Mikail raises two related issues in his § 2255

petition.    First, he contends that both prior to the plea

hearing and prior to his sentencing, counsel advised him that if

he would "plead guilty [and] cooperate with the government,             [he]

would receive no more than 23 months in prison."           (Pet. at 5.)

Second, Petitioner asserts that had he known he would not

receive a 23 month sentence he would not have cooperated with

the government.    Therefore, Mikail contends, he received

ineffective assistance of counsel.        (Pet. at 9.)

            Mikail seeks to be resentenced in accordance with his

understanding of the plea agreement or, he alleges, he will

withdraw his statements against his co-defendant.           (Pet. at 13.)

As the Government notes, Mikail has not actually sought to

withdraw his guilty plea or recant his trial testimony.           The

Government contends that the motion must be denied because

Mikail's claim is procedurally barred, and even if cast as an

ineffective assistance of counsel claim, Mikail's plea colloquy

directly contradicts his claims here.        (Gov't Resp. at 8.)
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           A.    Procedural Bar


           Mikail could have,     but decided not to raise his claim

that he should have received a lower sentence pursuant to

U.S.S.G.   § 5K1.1 on direct appeal.        This claim is thus

procedurally barred from review under § 2255.          Indeed, Mikail

never filed a direct appeal.       He asserts in his petition that

the reason he declined to raise these issues on appeal is

"because my lawyer failed to continue representing my case."

(Pet. at 3.)     This contention is unavailing.        "While ineffective

assistance can excuse a procedural default,         see Edwards v.

Carpenter, 529 U.S. 446, 451, 120 S. Ct. 1587, 146 L. Ed. 2d.

518 (2000), Petitioner's argument fails because,          as discussed

below, he has not asserted a meritorious claim that counsel was

ineffective."     Salguero-Ortiz v.       United States, No. I:10crl91,

2013 WL 5504156, at *2 n.2 (E.D. Va. Oct. 3, 2013).           Mikail has

not raised any argument concerning cause and prejudice so as to

excuse the default.     Likewise, he has not made any allegation of

actual innocence of the underlying criminal charges.

Accordingly, Mikail's claims, to the extent they concern the

amount of the sentence reduction pursuant to § 5K1.1, are

procedurally defaulted.

            B.   Ineffective Assistance of Counsel

            Even when construed as claim of ineffective assistance

of counsel, Mikail is not entitled to relief.           Mikail's claim
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that he expected a 23 month sentence and relied on this

calculation when making the decision to plead guilty is directly

contradicted his own statements at the plea colloquy conducted

on July 17, 2013.     A "defendant's solemn declarations in open

court affirming [a plea] agreement carry a strong presumption of

verity because court must be able to rely on the defendant's

statements made under oath during a properly conducted Rule 11

plea colloquy."     United States v. Lemaster, 403 F.3d 216, 221

(4th Cir. 2005)     (internal citations and quotation marks

omitted).   Thus,   unless there are "extraordinary circumstances,"

"allegations in a § 2255 motion that directly contradict the

petitioner's sworn statements made during a properly conducted

Rule 11 colloquy are always palpably incredible and patently

frivolous or false"      Id.   (internal quotation marks omitted).

            Mikail's sworn responses to the Court's questions

during the plea colloquy make clear that Mikail understood that

the Government was not bound by any representations counsel

might have made.     Mikail confirmed that he read and understood

the plea agreement, and that no promises were made to him other

than what was in the plea agreement.        (Tr.   [Dkt. 194-1] 13:12-

24.)   Mikail stated that he understood that the Court was not

bound by the Government's sentencing recommendation and that the

Court had the authority to impose a sentence more or less severe

than that called for in the guidelines.         (Tr. 14:5,   15:12-16.)
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Mikail further stated that there had not been any prediction or

promise to him of what his sentence would be.         (Tr. 15:25, 16:1-

2.)     He likewise confirmed that he understood that if the Court

imposed a sentence more severe than the range predicted by

counsel, he would still be bound by the plea agreement.               (Tr.

16:6-12.)

             Mikail's statements during the plea colloquy are

consistent with the affidavit of his counsel.          (English Aff.

[Dkt. 194-2].)     English states that he "never told Mr. Mikail

what sentence to incarceration he would receive."          (English

Aff.)     Instead, English states that he "explained to him that

when the prosecution makes a motion for sentence reduction under

§ 5K1.1, U.S.S.G., the ultimate decision is up to the judge.                 I

told him that in my experience sentence reductions ranged from

one third to two thirds, but I have seen cases that were either

more or less."     (English Aff.)    Mikail points to a handwritten

document allegedly written by English as evidence that English

assured him of a sentence of 23 months.         (Pet. at 4,    17.)     This

document, however, contains no such promises.         The handwritten

document contains a calculation showing a possible guideline

range and the effect that a two-thirds reduction under § 5K1.1

would have on the sentence.       (Pet.   at 17.)   There are no

promises or assurances contained in this document.            Moreover,

any claim that Mikail understood this document to be a promise
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or assurance is belied by his sworn statements to the contrary

during the plea colloquy.

          Thus, Mikail is unable to establish that he suffered

prejudice because of his counsel's alleged ineffectiveness.

Mikail's sworn statements during his plea colloquy negate his

current claims concerning any promise counsel might have made.

Moreover, as the Government notes, rather than prejudicing

Mikail, his cooperation resulted in a reduction of his sentence

pursuant to § 5K1.1.     (Gov't Resp. at 9.)     Because Mikail

suffered no cognizable prejudice, the court need not consider

whether counsel's performance was deficient.         See United States

v. Claiborne, 388 F. Supp. 2d 676, 681 (E.D. Va. 2005)         ("it is

not necessary to determine whether counsel['s] performance was

deficient if the claim is readily dismissed for lack of

prejudice")    (citing Strickland, 466 U.S. at 697).      Thus,

Mikail's motion must be denied.


          C.    Restitution Order


          Additionally, in his reply brief and affidavit

Petitioner raises for the first time an argument that the

restitution order is unjust.      He asserts that he is in the

process of obtaining cancelled checks which reflect amounts that

should be subtracted from the amount of restitution ordered.

(Mikail Aff.    [Dkt. 202] U 3(B).)      Additionally, he argues that

five of the straw buyers made approximately $50,000 from these
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transactions, which should be subtracted from the amount of

restitution owed.     (Mikail Aff. 1 3(C).)            Mikail's claims

concerning the restitution order are procedurally barred because

they were not raised on direct appeal.            Mikail has not

established cause or prejudice with respect to his claim

concerning restitution, or that he is actually innocent of the

underlying charges.

                             IV.   Conclusion


           For the foregoing reasons, the Court will deny

Petitioner's motion.

          An appropriate Order will issue.



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                                   James C. Cacheris
                                   United States District Judge
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August/J 2014                                James C.     Cacheris
Alexandria, Virginia          UNITED STATES DISTRICT COURT JUDGE




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